                                  Case 18-21025-RBR                      Doc 18           Filed 10/17/18        Page 1 of 47

Fill in this information to identify your case and this filing:


Debtor 1          Carlos                 R                     Estremadoyro
                  __________________________________________________________________
                    First Name               Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                Last Name


                                        Southern District of Florida
United States Bankruptcy Court for the: ______________________________________

Case number         18-21025  RBR
                    ___________________________________________
                                                                                                                                         Check if this is an
                                                                                                                                             amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                  12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
    
    X    Yes. Where is the property?
                                                                 What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                 
                                                                 X    Single-family home                           the amount of any secured claims on Schedule D:
      1.1. 6300   S.W. 188 AVENUE
           _________________________________________                 Duplex or multi-unit building
                                                                                                                   Creditors Who Have Claims Secured by Property.
           Street address, if available, or other description
                                                                     Condominium or cooperative                   Current value of the     Current value of the
                                                                     Manufactured or mobile home                  entire property?         portion you own?
             _________________________________________
                                                                     Land                                          578,000.00
                                                                                                                   $________________         578,000.00
                                                                                                                                            $_______________
                                                                     Investment property
             See           Florida           33332
             _________________________________________
                                                                     Timeshare                                    Describe the nature of your ownership
             City                        State      ZIP Code                                                       interest (such as fee simple, tenancy by
                                                                     Other __________________________________     the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.
                                                                                                                   Fee Simple Ownership
                                                                                                                   __________________________________________
             BROWARD                                             
                                                                 X Debtor 1 only
             _________________________________________
             County                                              Debtor 2 only
                                                                 Debtor 1 and Debtor 2 only                       Check if this is community property
                                                                                                                       (see instructions)
                                                                 At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________
    If you own or have more than one, list here:
                                                                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                
                                                                X    Single-family home                            the amount of any secured claims on Schedule D:
      1.2. 13349   S.W. 64 LANE
           ________________________________________                 Duplex or multi-unit building
                                                                                                                   Creditors Who Have Claims Secured by Property.
           Street address, if available, or other description
                                                                   Condominium or cooperative                     Current value of the     Current value of the
                                                                    Manufactured or mobile home                   entire property?         portion you own?
             ________________________________________
                                                                    Land                                           187,000.00
                                                                                                                   $________________         187,000.00
                                                                                                                                            $_________________
                                                                    Investment property
             MIAMI         Florida           33183
             ________________________________________
                                                                    Timeshare
                                                                                                                   Describe the nature of your ownership
             City                    State   ZIP Code                                                              interest (such as fee simple, tenancy by
                                                                    Other __________________________________      the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.    Fee Simple Ownership
                                                                                                                   __________________________________________

                                                                
                                                                X Debtor 1 only
             ________________________________________
             County                                             Debtor 2 only
                                                                Debtor 1 and Debtor 2 only                        Check if this is community property
                                                                At least one of the debtors and another              (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number: _______________________________


   Official Form 106A/B                                         Schedule A/B: Property                                                              page 1
                                 Case 18-21025-RBR                       Doc 18           Filed 10/17/18            Page 2 of 47
Debtor 1       Carlos       R                Estremadoyro
               _______________________________________________________                                                       18-21025 RBR
                                                                                                       Case number (if known)_____________________________________
               First Name       Middle Name          Last Name




                                                                 What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put

    1.3. ________________________________________
                                                                    Single-family home                                   the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
         Street address, if available, or other description         Duplex or multi-unit building
                                                                    Condominium or cooperative                           Current value of the      Current value of the
                                                                                                                          entire property?          portion you own?
           ________________________________________                 Manufactured or mobile home
                                                                    Land                                                 $________________         $_________________

           ________________________________________
                                                                    Investment property
           City                    State   ZIP Code                 Timeshare
                                                                                                                          Describe the nature of your ownership
                                                                                                                          interest (such as fee simple, tenancy by
                                                                    Other __________________________________             the entireties, or a life estate), if known.
                                                                                                                         __________________________________________
                                                                 Who has an interest in the property? Check one.
           ________________________________________              
                                                                  Debtor 1 only
           County
                                                                 
                                                                  Debtor 2 only
                                                                 
                                                                  Debtor 1 and Debtor 2 only                               Check if this is community property
                                                                 
                                                                  At least one of the debtors and another
                                                                                                                              (see instructions)

                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                  765,000.00
                                                                                                                                                    $_________________
   you have attached for Part 1. Write that number here. ...................................................................................... 




Part 2:     Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   No
   
   X Yes

           Make:                      Mitsubishi
                                      ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
   3.1.

           Model:                     Montero
                                      ______________
                                                                 
                                                                 X Debtor 1 only
                                                                                                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                                                 Debtor 2 only
           Year:                      2002
                                      ____________
                                                                 Debtor 1 and Debtor 2 only                             Current value of the      Current value of the
                                      180000                                                                              entire property?          portion you own?
           Approximate mileage:       ____________               At least one of the debtors and another
           Other information:
                                                                  Check if this is community property (see                1,900.00
                                                                                                                          $________________          1,900.00
                                                                                                                                                    $________________
           not operational leaking oil
                                                                     instructions)
           transmission

   If you own or have more than one, describe here:

           Make:                      TOYOTA
                                      ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
   3.2.

           Model:                     COROLLA
                                      ______________
                                                                 
                                                                 X Debtor 1 only                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                                                 Debtor 2 only
           Year:                      2004
                                      ____________
                                                                 Debtor 1 and Debtor 2 only
                                                                                                                          Current value of the
                                                                                                                          entire property?
                                                                                                                                                    Current value of the
                                                                                                                                                    portion you own?
           Approximate mileage: 110000
                                ____________                     At least one of the debtors and another
           Other information:
                                                                  Check if this is community property (see                2,800.00
                                                                                                                          $________________          2,800.00
                                                                                                                                                    $________________
                                                                     instructions)




Official Form 106A/B                                             Schedule A/B: Property                                                                    page 2
                                        Case 18-21025-RBR                                Doc 18               Filed 10/17/18                     Page 3 of 47
Debtor 1           Carlos       R               Estremadoyro
                   _______________________________________________________                                                       Case number (if known)18-21025  RBR
                                                                                                                                                       _____________________________________
                   First Name         Middle Name                Last Name




            Make:                            ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.3.

            Model:                           ______________
                                                                              
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:                            ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
                                                                                                                                                         entire property?                 portion you own?
            Approximate mileage: ____________                                 
                                                                               At least one of the debtors and another
            Other information:
                                                                               Check if this is community property (see                                 $________________                $________________
                                                                                   instructions)


            Make:                            ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.4.

            Model:                           ______________
                                                                              
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:                            ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
                                                                                                                                                         entire property?                 portion you own?
            Approximate mileage: ____________                                 
                                                                               At least one of the debtors and another
            Other information:
                                                                               Check if this is community property (see                                 $________________                $________________
                                                                                   instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   
   X No
    Yes

            Make:       ____________________                                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.1.

            Model: ____________________                                       
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:       ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
            Other information:                                                
                                                                               At least one of the debtors and another                                   entire property?                 portion you own?

                                                                               Check if this is community property (see                                 $________________                $________________
                                                                                  instructions)



   If you own or have more than one, list here:

            Make:       ____________________                                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.2.

            Model: ____________________                                       
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:       ____________                                                                                                                     Current value of the             Current value of the
                                                                              
                                                                               Debtor 1 and Debtor 2 only
                                                                                                                                                         entire property?                 portion you own?
            Other information:                                                
                                                                               At least one of the debtors and another

                                                                                                                                                         $________________                $________________
                                                                               Check if this is community property (see
                                                                                  instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
                                                                                                                                                                                          4,700.00
                                                                                                                                                                                         $_________________
   you have attached for Part 2. Write that number here ............................................................................................................................ 




Official Form 106A/B                                                           Schedule A/B: Property                                                                                           page 3
                                            Case 18-21025-RBR                                     Doc 18                Filed 10/17/18                         Page 4 of 47
Debtor 1            Carlos       R                Estremadoyro
                    _______________________________________________________
                    First Name            Middle Name                  Last Name
                                                                                                                                              Case number (if known)18-21025  RBR
                                                                                                                                                                    _____________________________________




Part 3:        Describe Your Personal and Household Items

                                                                                                                                                                                                   Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                  portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
       No
   
   X    Yes. Describe. ........          See Attachment 2                                                                                                                                            2,485.00
                                                                                                                                                                                                    $___________________

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
       No
   
   X    Yes. Describe. ......... tv 100 tv 100 tv 30 tv 30 stereo 100 computer/printer 100                                                                                                          $___________________
                                                                                                                                                                                                     460.00

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   
   X No
    Yes. Describe. .........                                                                                                                                                                       $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   
   X    No
       Yes. Describe. .........                                                                                                                                                                    $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   
   X No
    Yes. Describe. ..........                                                                                                                                                                      $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
       No
   
   X    Yes. Describe. ..........                                                                                                                                                                    100.00
                                                                                                                                                                                                    $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
       No
   
   X    Yes. Describe. ..........
                                 wedding band                                                                                                                                                        50.00
                                                                                                                                                                                                    $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

   
   X    No
       Yes. Describe. ............                                                                                                                                                                 $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   
   X    No
       Yes. Give specific
                                                                                                                                                                                                    $___________________
        information..................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
                                                                                                                                                                                                     3,095.00
                                                                                                                                                                                                    $______________________
   for Part 3. Write that number here ........................................................................................................................................................ 



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 4
                                               Case 18-21025-RBR                                             Doc 18                   Filed 10/17/18                                 Page 5 of 47
Debtor 1            Carlos       R                Estremadoyro
                    _______________________________________________________                                                                                                          18-21025 RBR
                                                                                                                                                               Case number (if known)_____________________________________
                    First Name              Middle Name                       Last Name




Part 4:       Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                           Current value of the
                                                                                                                                                                                                                      portion you own?
                                                                                                                                                                                                                      Do not deduct secured claims
                                                                                                                                                                                                                      or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

     No

 X     Yes .....................................................................................................................................................................     Cash: .......................     100.00
                                                                                                                                                                                                                       $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
   
   X   No
      Yes .....................                                                                  Institution name:


                                             17.1. Checking account:                              _________________________________________________________                                                            $__________________

                                             17.2. Checking account:                              _________________________________________________________                                                            $__________________

                                             17.3. Savings account:                               _________________________________________________________                                                            $__________________

                                             17.4. Savings account:                               _________________________________________________________                                                            $__________________

                                             17.5. Certificates of deposit:                       _________________________________________________________                                                            $__________________

                                             17.6. Other financial account:                       _________________________________________________________                                                            $__________________

                                             17.7. Other financial account:                       _________________________________________________________                                                            $__________________

                                             17.8. Other financial account:                       _________________________________________________________                                                            $__________________

                                             17.9. Other financial account:                       _________________________________________________________                                                            $__________________




18. Bonds, mutual funds, or publicly traded stocks
  Examples: Bond funds, investment accounts with brokerage firms, money market accounts

 X     No
     Yes ..................                Institution or issuer name:

                                             _________________________________________________________________________________________                                                                                 $__________________
                                             _________________________________________________________________________________________                                                                                 $__________________
                                             _________________________________________________________________________________________                                                                                 $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture

   
   X No                                      Name of entity:                                                                                                                          % of ownership:
   Yes. Give specific                      _____________________________________________________________________                                                                    ___________%                     $__________________
       information about
       them. ........................        _____________________________________________________________________                                                                    ___________%                     $__________________
                                             _____________________________________________________________________                                                                    ___________%                     $__________________




Official Form 106A/B                                                                            Schedule A/B: Property                                                                                                             page 5
                                          Case 18-21025-RBR                         Doc 18       Filed 10/17/18      Page 6 of 47
Debtor 1           Carlos       R                Estremadoyro
                   _______________________________________________________
                   First Name            Middle Name            Last Name
                                                                                                          Case number (if known)18-21025  RBR
                                                                                                                                _____________________________________




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.


 X No
 Yes. Give specific                    Issuer name:
       information about
       them. ......................      ______________________________________________________________________________________               $__________________
                                         ______________________________________________________________________________________
                                                                                                                                              $__________________
                                         ______________________________________________________________________________________
                                                                                                                                              $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   
   X   No
      Yes. List each
       account separately. . Type of account:                      Institution name:

                                         401(k) or similar plan:   ___________________________________________________________________        $__________________

                                         Pension plan:             ___________________________________________________________________        $__________________

                                         IRA:                      ___________________________________________________________________        $__________________

                                         Retirement account:       ___________________________________________________________________        $__________________

                                         Keogh:                    ___________________________________________________________________        $__________________

                                         Additional account:       ___________________________________________________________________        $__________________

                                         Additional account:       ___________________________________________________________________        $__________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   
   X   No
      Yes ...........................                         Institution name or individual:

                                         Electric:             ______________________________________________________________________         $___________________
                                         Gas:                  ______________________________________________________________________         $___________________
                                         Heating oil:          ______________________________________________________________________         $___________________
                                         Security deposit on rental unit: _____________________________________________________________
                                                                                                                                              $___________________
                                         Prepaid rent:         ______________________________________________________________________
                                                                                                                                              $___________________
                                         Telephone:            ______________________________________________________________________
                                                                                                                                              $___________________
                                         Water:                ______________________________________________________________________
                                                                                                                                              $___________________
                                         Rented furniture:     ______________________________________________________________________
                                                                                                                                              $___________________
                                         Other:                ______________________________________________________________________
                                                                                                                                              $___________________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   
   X   No
      Yes ...........................   Issuer name and description:
                                          _______________________________________________________________________________________             $__________________
                                         _______________________________________________________________________________________              $__________________
                                         _______________________________________________________________________________________              $__________________


Official Form 106A/B                                                        Schedule A/B: Property                                                        page 6
                                            Case 18-21025-RBR                     Doc 18         Filed 10/17/18            Page 7 of 47
Debtor 1           Carlos       R                Estremadoyro
                   _______________________________________________________                                     Case number (if known)18-21025  RBR
                                                                                                                                     _____________________________________
                   First Name             Middle Name           Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   
   X   No
      Yes .....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                   ____________________________________________________________________________________                 $_________________
                                                   ____________________________________________________________________________________                 $_________________
                                                   ____________________________________________________________________________________                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


Money or property owed to you?                                                                                                                          Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

   
   X   No
      Yes. Give specific information                                                                                         Federal:              $_________________
            about them, including whether
            you already filed the returns                                                                                     State:                $_________________
            and the tax years. ......................
                                                                                                                              Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   
   X   No
      Yes. Give specific information. .............
                                                                                                                             Alimony:                   $________________
                                                                                                                             Maintenance:               $________________
                                                                                                                             Support:                   $________________
                                                                                                                             Divorce settlement:        $________________
                                                                                                                             Property settlement:       $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   
   X   No
      Yes. Give specific information. ...............
                                                                                                                                                        $______________________



Official Form 106A/B                                                        Schedule A/B: Property                                                                page 7
                                            Case 18-21025-RBR                                     Doc 18                Filed 10/17/18                         Page 8 of 47
Debtor 1            Carlos       R                Estremadoyro
                    _______________________________________________________
                    First Name            Middle Name                  Last Name
                                                                                                                                              Case number (if known)18-21025  RBR
                                                                                                                                                                    _____________________________________




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   
   X    No
       Yes. Name the insurance company              Company name:                                                                               Beneficiary:                                        Surrender or refund value:
             of each policy and list its value. ....
                                                                      ___________________________________________ ____________________________                                                       $__________________
                                                                      ___________________________________________ ____________________________                                                       $__________________
                                                                      ___________________________________________ ____________________________                                                       $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   
   X    No
       Yes. Give specific information. .............
                                                                                                                                                                                                     $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   
   X    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                     $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   
   X    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                     $_____________________




35. Any financial assets you did not already list

   
   X    No
       Yes. Give specific information. ...........
                                                                                                                                                                                                     $_____________________



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ........................................................................................................................................................       100.00
                                                                                                                                                                                                     $_____________________




Part 5:          Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

   
   X    No. Go to Part 6.
       Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned


 X      No
       Yes. Describe ........
                                                                                                                                                                                                   $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

   
   X    No
       Yes. Describe ........                                                                                                                                                                     $_____________________



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 8
                                            Case 18-21025-RBR                                     Doc 18                Filed 10/17/18                         Page 9 of 47
Debtor 1            Carlos       R                Estremadoyro
                    _______________________________________________________                                                                   Case number (if known)18-21025  RBR
                                                                                                                                                                    _____________________________________
                    First Name             Middle Name                 Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   
   X    No
       Yes. Describe ........
                                                                                                                                                                                                   $_____________________


41. Inventory
   
   X    No
       Yes. Describe ........                                                                                                                                                                     $_____________________


42. Interests in partnerships or joint ventures

   
   X    No
       Yes. Describe ........ Name of entity:                                                                                                                        % of ownership:
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________


43. Customer lists, mailing lists, or other compilations
 
 X      No
      Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                
                X     No
                     Yes. Describe.........
                                                                                                                                                                                                   $____________________


44. Any business-related property you did not already list
   
   X    No
       Yes. Give specific
                              ______________________________________________________________________________________                                                                               $____________________
        information .........
                                          ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
                                                                                                                                                                                                    0.00
                                                                                                                                                                                                   $____________________
   for Part 5. Write that number here ........................................................................................................................................................ 




Part 6:          Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   
   X No. Go to Part 7.
    Yes. Go to line 47.
                                                                                                                                                                                                 Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
   
   X    No
       Yes ...........................

                                                                                                                                                                                                     $___________________



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 9
                                              Case 18-21025-RBR                                        Doc 18                 Filed 10/17/18                          Page 10 of 47
 Debtor 1              Carlos       R               Estremadoyro
                       _______________________________________________________
                       First Name   Middle Name      Last Name
                                                                                                                                                      Case number (if known)18-21025  RBR
                                                                                                                                                                            _____________________________________




48. Crops—either growing or harvested

     
     X     No
          Yes. Give specific
           information. ............                                                                                                                                                                            $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
     
     X     No
          Yes ...........................
                                                                                                                                                                                                                $___________________

50. Farm and fishing supplies, chemicals, and feed

     
     X     No
          Yes ...........................
                                                                                                                                                                                                                $___________________

51. Any farm- and commercial fishing-related property you did not already list

 X         No
          Yes. Give specific
           information. ............                                                                                                                                                                            $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                                 0.00
                                                                                                                                                                                                                $___________________
     for Part 6. Write that number here ........................................................................................................................................................ 



Part 7:             Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     
     X     No
                                                                                                                                                                                                                 $________________
          Yes. Give specific
           information. ............                                                                                                                                                                              $________________
                                                                                                                                                                                                                  $________________


54. Add the dollar value of all of your entries from Part 7. Write that number here ...................................................................                                                          $________________




Part 8:             List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 ....................................................................................................................................................................      765,000.00
                                                                                                                                                                                                                $________________

56. Part 2: Total vehicles, line 5                                                                                    4,700.00
                                                                                                                     $________________

57. Part 3: Total personal and household items, line 15                                                               3,095.00
                                                                                                                     $________________

58. Part 4: Total financial assets, line 36                                                                           100.00
                                                                                                                     $________________

59. Part 5: Total business-related property, line 45                                                                  0.00
                                                                                                                     $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                         0.00
                                                                                                                     $________________

61. Part 7: Total other property not listed, line 54                                                             + $________________
                                                                                                                    0.00

62. Total personal property. Add lines 56 through 61. ...................                                             7,895.00
                                                                                                                     $________________ Copy personal property total                                           + $_________________
                                                                                                                                                                                                                  7,895.00


63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                        772,895.00
                                                                                                                                                                                                                $_________________



 Official Form 106A/B                                                                        Schedule A/B: Property                                                                                                      page 10
                           Case 18-21025-RBR                Doc 18        Filed 10/17/18          Page 11 of 47


                                            Attachment
                        Debtor: Carlos R Estremadoyro Case No: 18-21025 RBR


Attachment 1
     SOUTHWEST RANCHES
Attachment 2
     bed 100 dresser 75 night stands 40 lamps 30 sofa 100 desk 50 children's bedroom sets 500 bedroom set 300 sofa 100 love seat 75 tables 70
     table/chairs 70 dining set 300 buffet table 75 sofa 100 love seat 75 tables 80 entertaint center 50 pool table/ping pong 200 bar 100
                                  Case 18-21025-RBR                  Doc 18             Filed 10/17/18            Page 12 of 47

  Fill in this information to identify your case:

 Debtor 1          Carlos R Estremadoyro
                   __________________________________________________________________
                     First Name              Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name               Last Name


 United States Bankruptcy Court for the: Southern District ofofFlorida
                                         _____________________________________________
                                          __________ District   __________

 Case number
  (If known)
                     18-21025 RBR
                     ___________________________________________                                                                                      Check if this is an
                                                                                                                                                           amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                                04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      You are claiming state and federal nonbankruptcy exemptions.                11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on       Current value of the        Amount of the exemption you claim         Specific laws that allow exemption
       Schedule A/B that lists this property               portion you own
                                                           Copy the value from         Check only one box for each exemption.
                                                           Schedule A/B

      Brief        6300 S.W. 188 AVENUE                                                                                         Fla. Const., Art. 10, § 4(a)(1), FSA § 222.01, 222.02
                                                                                                                                ____________________________
      description: _________________________
                                                            578,000.00
                                                           $________________            
                                                                                        X $ 578,000.00
                                                                                            ____________                        ____________________________
      Line from                                                                          100% of fair market value, up to      ____________________________
      Schedule A/B: 1.0                                                                    any applicable statutory limit      ____________________________
                    ______

      Brief        2004 TOYOTA COROLLA with                                                                                     FSA § 222.25(1)
                                                                                                                                ____________________________
      description: _________________________
                   110000 miles.
                                                            2,800.00
                                                           $________________               1,000.00
                                                                                        X $ ____________                        ____________________________
      Line from                                                                          100% of fair market value, up to      ____________________________
      Schedule A/B: 3.1
                    ______                                                                 any applicable statutory limit       ____________________________

                   See        Attachment 1                                                                                      U.S.C. 11 § 522(b)(3)(B)
      Brief                                                                                                                     ____________________________
      description:
                                                            2,485.00
                                                           $________________            
                                                                                        X $ 2,485.00
                                                                                            ____________                        ____________________________
                       _________________________
      Line from                                                                          100% of fair market value, up to      ____________________________
      Schedule A/B: ______                                                                 any applicable statutory limit       ____________________________
                    6

 3. Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     X     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                         Schedule C: The Property You Claim as Exempt                                                             page 1 of 2
                                                                                                                                                                              __
                              Case 18-21025-RBR                  Doc 18       Filed 10/17/18            Page 13 of 47
Debtor 1     Carlos R Estremadoyro
             _______________________________________________________                                               18-21025 RBR
                                                                                             Case number (if known)_____________________________________
             First Name       Middle Name      Last Name




 Part 2:    Additional Page

      Brief description of the property and line       Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      on Schedule A/B that lists this property         portion you own
                                                       Copy the value from    Check only one box for each exemption
                                                       Schedule A/B

     Brief        tv 100 tv 100 tv 30 tv 30 stereo                                                                    U.S.C. 11 § 522(b)(3)(B)
                                                                                                                      ____________________________
     description: 100  computer/printer 100
                  _________________________
                                                        460.00
                                                       $________________         460.00
                                                                              X $ ____________                        ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
     Schedule A/B: 7
                   ______                                                        any applicable statutory limit      ____________________________

     Brief                                                                                                            Fla. Const., Art. 10, § 4(a)(2), FSA § 222.061
                                                                                                                      ____________________________
     description: _________________________             100.00
                                                       $________________      
                                                                              X $ ____________
                                                                                  100.00                              ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
                                                                                 any applicable statutory limit       ____________________________
     Schedule A/B: 11
                     ______

     Brief        wedding band                                                                                        Fla. Const., Art. 10, § 4(a)(2), FSA § 222.061
                                                                                                                      ____________________________
     description: _________________________
                                                        50.00
                                                       $________________         50.00
                                                                              X $ ____________                        ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
                                                                                 any applicable statutory limit       ____________________________
     Schedule A/B: 12
                   ______

     Brief        Cash                                                                                                Fla. Const., Art. 10, § 4(a)(2), FSA § 222.061
                                                                                                                      ____________________________
     description: _________________________
                                                        100.00
                                                       $________________         100.00
                                                                              X $ ____________                        ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
     Schedule A/B: 16
                   ______                                                        any applicable statutory limit      ____________________________

     Brief                                                                                                            ____________________________
     description: _________________________            $________________       $ ____________                        ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
                                                                                 any applicable statutory limit       ____________________________
     Schedule A/B:
                          ______

     Brief                                                                                                            ____________________________
     description: _________________________            $________________       $ ____________                        ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
                                                                                 any applicable statutory limit       ____________________________
     Schedule A/B: ______

     Brief                                                                                                            ____________________________
     description: _________________________            $________________       $ ____________                        ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
     Schedule A/B: ______                                                        any applicable statutory limit      ____________________________

     Brief                                                                                                            ____________________________
     description: _________________________            $________________       $ ____________                        ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
                                                                                 any applicable statutory limit       ____________________________
     Schedule A/B:
                          ______

     Brief                                                                                                            ____________________________
     description: _________________________            $________________       $ ____________                        ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
                                                                                 any applicable statutory limit       ____________________________
     Schedule A/B: ______

     Brief                                                                                                            ____________________________
     description: _________________________            $________________       $ ____________                        ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
     Schedule A/B: ______                                                        any applicable statutory limit      ____________________________

     Brief                                                                                                            ____________________________
     description: _________________________            $________________       $ ____________                        ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
                                                                                 any applicable statutory limit       ____________________________
     Schedule A/B:
                          ______

     Brief                                                                                                            ____________________________
     description:                                      $________________       $ ____________                        ____________________________
                    _________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
                                                                                 any applicable statutory limit       ____________________________
     Schedule A/B: ______


Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                                        2 of 2__
                                                                                                                                                    page ___
                           Case 18-21025-RBR                Doc 18        Filed 10/17/18          Page 14 of 47


                                            Attachment
                        Debtor: Carlos R Estremadoyro Case No: 18-21025 RBR


Attachment 1
     bed 100 dresser 75 night stands 40 lamps 30 sofa 100 desk 50 children's bedroom sets 500 bedroom set 300 sofa 100 love seat 75 tables 70
     table/chairs 70 dining set 300 buffet table 75 sofa 100 love seat 75 tables 80 entertaint center 50 pool table/ping pong 200 bar 100
                                 Case 18-21025-RBR                             Doc 18          Filed 10/17/18              Page 15 of 47

Fill in this information to identify your case:

Debtor 1          Carlos R Estremadoyro
                  __________________________________________________________________
                    First Name                Middle Name                      Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                Middle Name                      Last Name


United States Bankruptcy Court for the: Southern District of Florida
                                        ______________________________________

Case number        18-21025  RBR
                   ___________________________________________
(If known)                                                                                                                                               Check if this is an
                                                                                                                                                            amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
          No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      
      X    Yes. Fill in all of the information below.


Part 1:         List All Secured Claims
                                                                                                                           Column A               Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                    Amount of claim        Value of collateral   Unsecured
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                Do not deduct the      that supports this    portion
      As much as possible, list the claims in alphabetical order according to the creditor’s name.                         value of collateral.   claim                 If any

2.1                                                         Describe the property that secures the claim:                   8,500.00
                                                                                                                           $_________________  187,000.00
                                                                                                                                              $________________  8,500.00
                                                                                                                                                                $____________
      See  Attachment 1
      ______________________________________
      Creditor’s Name

      c/o Kevin Brown, Esq.
      ______________________________________
      Number            Street

                                                            As of the date you file, the claim is: Check all that apply.
      See  Attachment 2
      ______________________________________
                                                               Contingent
      Coral Gables          FL 33146
      ______________________________________                   Unliquidated
      City                   State ZIP Code  
                                             X                  Disputed
   Who owes the debt? Check one.                            Nature of lien. Check all that apply.
   
   X     Debtor 1 only                                         An agreement you made (such as mortgage or secured
        Debtor 2 only                                          car loan)
        Debtor 1 and Debtor 2 only                            Statutory lien (such as tax lien, mechanic’s lien)
        At least one of the debtors and another               Judgment lien from a lawsuit
                                                            
                                                            X                                       See 3
                                                                Other (including a right to offset) ____________________
     Check if this claim relates to a
      community debt
   Date debt was incurred ____________                      Last 4 digits of account number ___ ___ ___ ___
2.2                                                         Describe the property that secures the claim:                   253,000.00
                                                                                                                           $_________________  187,000.00
                                                                                                                                              $________________  66,000.00
                                                                                                                                                                $____________
      Nationstar Mortgage
      ______________________________________
      Creditor’s Name
                                             13349 S.W. 64 Lane
      POB  199111
      ______________________________________ Miami FL 33183
      Number     Street

                                                            As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                               Contingent
      Dallas                TX 75219
      ______________________________________                   Unliquidated
      City                   State ZIP Code                    Disputed
   Who owes the debt? Check one.                            Nature of lien. Check all that apply.
   
   X     Debtor 1 only                                      
                                                            X   An agreement you made (such as mortgage or secured
        Debtor 2 only                                          car loan)
        Debtor 1 and Debtor 2 only                            Statutory lien (such as tax lien, mechanic’s lien)
        At least one of the debtors and another               Judgment lien from a lawsuit
                                                               Other (including a right to offset) ____________________
     Check if this claim relates to a
      community debt
   Date debt was incurred 08/03/2005
                            ____________                                                     x ___
                                                            Last 4 digits of account number ___ x ___
                                                                                                   x ___
                                                                                                      x
      Add the dollar value of your entries in Column A on this page. Write that number here:                                261,500.00
                                                                                                                           $_________________


  Official Form 106D                           Schedule D: Creditors Who Have Claims Secured by Property                                                                 2
                                                                                                                                                              page 1 of ___
                                   Case 18-21025-RBR                         Doc 18          Filed 10/17/18              Page 16 of 47
Debtor 1           Carlos R Estremadoyro
                   _______________________________________________________                                                          18-21025 RBR
                                                                                                              Case number (if known)_____________________________________
                   First Name      Middle Name          Last Name




                 Additional Page                                                                                         Column A               Column B              Column C
Part 1:                                                                                                                  Amount of claim        Value of collateral   Unsecured
                 After listing any entries on this page, number them beginning with 2.3, followed                                               that supports this    portion
                                                                                                                         Do not deduct the
                 by 2.4, and so forth.                                                                                   value of collateral.   claim                 If any
2.3                                                      Describe the property that secures the claim:                    527,800.00
                                                                                                                         $_________________  578,500.00
                                                                                                                                            $________________  0.00
                                                                                                                                                              $____________
      Ocwen  Loan Svcg
      ______________________________________
      Creditor’s Name

      POB   24738
      ______________________________________
                                             6300 SW 188 Ave
      Number     Street                      Southwest Ranches FL 33332
      ______________________________________             As of the date you file, the claim is: Check all that apply.

      West  Palm Beach       FL 33416
      ______________________________________                 Contingent
      City                   State ZIP Code                  Unliquidated
                                                             Disputed
   Who owes the debt? Check one.                         Nature of lien. Check all that apply.
   
   X       Debtor 1 only                                 
                                                         X    An agreement you made (such as mortgage or secured
          Debtor 2 only                                      car loan)
          Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic’s lien)
          At least one of the debtors and another           Judgment lien from a lawsuit
                                                             Other (including a right to offset) ____________________
          Check if this claim relates to a
           community debt

   Date debt was incurred 02/09/2007
                          ____________                                                    2 ___
                                                         Last 4 digits of account number ___ 6 ___
                                                                                                6 ___
                                                                                                   3

2.4                                                      Describe the property that secures the claim:                    121,000.00
                                                                                                                         $_________________  187,000.00
                                                                                                                                            $________________  121,000.00
                                                                                                                                                              $____________
      U.S. Small Business Administration
      ______________________________________
      Creditor’s Name

      801 Tom Martin Drive
      ______________________________________
                                             13349S.W. 64 Lane
      Number     Street                      Miami FL 33183
                                                         As of the date you file, the claim is: Check all that apply.
      Suite 120
      ______________________________________
                                                             Contingent
      Birmingham              AL 35211
      ______________________________________                 Unliquidated
      City                   State ZIP Code
                                                             Disputed
   Who owes the debt? Check one.
                                                         Nature of lien. Check all that apply.
   
   X       Debtor 1 only
                                                         
                                                         X    An agreement you made (such as mortgage or secured
          Debtor 2 only                                      car loan)
          Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic’s lien)
          At least one of the debtors and another           Judgment lien from a lawsuit

          Check if this claim relates to a
                                                             Other (including a right to offset) ____________________
           community debt

                          03/15/2002
   Date debt was incurred ____________                                                    4 ___
                                                         Last 4 digits of account number ___ 0 0___ ___
                                                                                                     9

2.5                                                      Describe the property that secures the claim:                   $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

      ______________________________________             As of the date you file, the claim is: Check all that apply.
      ______________________________________                 Contingent
      City                           State   ZIP Code        Unliquidated
                                                             Disputed
   Who owes the debt? Check one.                         Nature of lien. Check all that apply.
          Debtor 1 only                                     An agreement you made (such as mortgage or secured
          Debtor 2 only                                      car loan)
          Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic’s lien)
          At least one of the debtors and another           Judgment lien from a lawsuit
                                                             Other (including a right to offset) ____________________
          Check if this claim relates to a
           community debt
   Date debt was incurred ____________                   Last 4 digits of account number ___ ___ ___ ___

              Add the dollar value of your entries in Column A on this page. Write that number here: $_________________
                                                                                                      648,800.00
             If this is the last page of your form, add the dollar value totals from all pages.
             Write that number here:                                                                                      910,300.00
                                                                                                                         $_________________

  Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                             2 of ___
                                                                                                                                                            page ___    2
                          Case 18-21025-RBR                  Doc 18   Filed 10/17/18   Page 17 of 47


                                            Attachment
                        Debtor: Carlos R Estremadoyro Case No: 18-21025 RBR


Attachment 1
     Arborgate Patio Homes at Kendall Lakes East HOA, Inc.
Attachment 2
     4000 Ponce De Leon Blvd.
     Suite 470
Attachment 3
     Homeown's Association
                                     Case 18-21025-RBR                     Doc 18          Filed 10/17/18               Page 18 of 47
 Fill in this information to identify your case:

 Debtor 1             Carlos                R                     Estremadoyro
                      __________________________________________________________________
                       First Name                    Middle Name             Last Name

 Debtor 2              ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name             Last Name


 United States Bankruptcy Court for the: Southern District of Florida
                                         ______________________________________

                       18-21025  RBR
                                                                                                                                                      Check if this is an
 Case number           ___________________________________________
  (If known)                                                                                                                                            amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 Part 1:             List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
        
        X No. Go to Part 2.
         Yes.
      2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
        each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
        nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
        unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                      Total claim    Priority     Nonpriority
                                                                                                                                                     amount       amount
2.1
         ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___            $_____________ $___________ $____________
         Priority Creditor’s Name

         ____________________________________________                 When was the debt incurred?          ____________
         Number             Street
         ____________________________________________                 As of the date you file, the claim is: Check all that apply.
         ____________________________________________
         City                                State      ZIP Code
                                                                         Contingent
                                                                         Unliquidated
         Who incurred the debt? Check one.
                                                                         Disputed
               Debtor 1 only
               Debtor 2 only                                         Type of PRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only
                                                                         Domestic support obligations
               At least one of the debtors and another
                                                                         Taxes and certain other debts you owe the government
               Check if this claim is for a community debt              Claims for death or personal injury while you were
         Is the claim subject to offset?                                  intoxicated
               No                                                       Other. Specify _________________________________
               Yes
2.2
         ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___                $_____________ $___________ $____________
         Priority Creditor’s Name
                                                                      When was the debt incurred?          ____________
         ____________________________________________
         Number             Street
         ____________________________________________                 As of the date you file, the claim is: Check all that apply.

         ____________________________________________
                                                                         Contingent
         City                                State      ZIP Code         Unliquidated
         Who incurred the debt? Check one.                               Disputed
               Debtor 1 only
                                                                      Type of PRIORITY unsecured claim:
               Debtor 2 only
                                                                         Domestic support obligations
               Debtor 1 and Debtor 2 only
               At least one of the debtors and another
                                                                         Taxes and certain other debts you owe the government
                                                                         Claims for death or personal injury while you were
               Check if this claim is for a community debt               intoxicated
         Is the claim subject to offset?                                 Other. Specify _________________________________
               No
               Yes


Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                      7
                                                                                                                                                          page 1 of ___
Debtor 1            Carlos       Case R 18-21025-RBR             Doc 18
                                                         Estremadoyro
                    _______________________________________________________
                                                                                   Filed 10/17/18     Page 18-21025 19 of 47 RBR
                                                                                             Case number (if known)_____________________________________
                    First Name       Middle Name         Last Name


  Part 2:          List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      X Yes
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      priority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than four priority unsecured claims
      fill out the Continuation Page of Part 2.

                                                                                                                                                           Total claim
4.1
       American Express
       _____________________________________________________________                                               x ___
                                                                                  Last 4 digits of account number ___ x ___
                                                                                                                         x ___
                                                                                                                            x
       Nonpriority Creditor’s Name                                                                                                                        25,700.00
                                                                                                                                                         $__________________
                                                                                 When was the debt incurred?           11/28/2005
                                                                                                                       ____________
       POB  981537
       _____________________________________________________________
       Number              Street

       El Paso                        TX      79998
       _____________________________________________________________
       City                                             State        ZIP Code    As of the date you file, the claim is: Check all that apply.

                                                                                    Contingent
       Who incurred the debt? Check one.                                            Unliquidated
       
       X      Debtor 1 only                                                         Disputed
             Debtor 2 only
             Debtor 1 and Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                               Student loans

             Check if this claim is for a community debt                           Obligations arising out of a separation agreement or divorce
                                                                                     that you did not report as priority claims
       Is the claim subject to offset?                                              Debts to pension or profit-sharing plans, and other similar debts
       
       X      No                                                                    Other. Specify ______________________________________
             Yes

4.2                                                                              Last 4 digits of account number ___ ___ ___ ___                          15,000.00
                                                                                                                                                         $__________________
       Cavalry Portfolio
       _____________________________________________________________
       Nonpriority Creditor’s Name                                               When was the debt incurred?           02/20/2012
                                                                                                                       ____________
       500 Summit Lake Drive Suite 400
       _____________________________________________________________
       Number              Street
                                                                                 As of the date you file, the claim is: Check all that apply.
       Valhalla                       NY      10595
       _____________________________________________________________
       City                                             State        ZIP Code
                                                                                    Contingent
       Who incurred the debt? Check one.                                            Unliquidated

       
       X      Debtor 1 only
                                                                                    Disputed

             Debtor 2 only
                                                                                 Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                               Student loans
                                                                                    Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt                            that you did not report as priority claims
       Is the claim subject to offset?                                              Debts to pension or profit-sharing plans, and other similar debts

       
       X      No                                                                 
                                                                                 X   Other. Specify ______________________________________

             Yes

4.3
       Cavalry Portfolio Svcs LLC
       _____________________________________________________________                                              9 ___
                                                                                 Last 4 digits of account number ___ 0 ___
                                                                                                                        1 ___
                                                                                                                           1
       Nonpriority Creditor’s Name
                                                                                                                                                          589.00
                                                                                                                                                         $_________________
                                                                                 When was the debt incurred?           03/20/2017
                                                                                                                       ____________
       500 Summit Lake Dr Suite 400
       _____________________________________________________________
       Number              Street

       Valhalla                       NY      10595
       _____________________________________________________________             As of the date you file, the claim is: Check all that apply.
       City                                             State        ZIP Code

                                                                                    Contingent
       Who incurred the debt? Check one.
                                                                                    Unliquidated
       
       X      Debtor 1 only
                                                                                    Disputed
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                 Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                                    Student loans
             Check if this claim is for a community debt                           Obligations arising out of a separation agreement or divorce
                                                                                     that you did not report as priority claims
       Is the claim subject to offset?
                                                                                    Debts to pension or profit-sharing plans, and other similar debts
       
       X      No
                                                                                 
                                                                                 X   Other. Specify Medical Services
                                                                                                    ______________________________________
             Yes




  Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                        2 of ___
                                                                                                                                                              page __    7
Debtor 1           Carlos       Case R 18-21025-RBR             Doc 18
                                                        Estremadoyro
                   _______________________________________________________
                                                                                    Filed 10/17/18     Page 18-21025 20 of 47 RBR
                                                                                              Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name



 Part 2:          Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                     Total claim


4.4                                                                                Last 4 digits of account number ___ ___ ___ ___
      Citibank South Dakota NA
      _____________________________________________________________                                                                                        $____________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      See Attachment 1
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      San Diego                      CA      92108
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      
      X      Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                 Other. Specify________________________________
      
      X      No
            Yes



4.5
      GE Money Bank                                                                Last 4 digits of account number ___ ___ ___ ___                          12,500.00
                                                                                                                                                           $____________
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          04/09/2012
                                                                                                                        ____________
      2004 Bassett Ave
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      El Paso                        TX      79901
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      
      X      Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                 Other. Specify________________________________
      
      X      No
            Yes


4.6                                                                                                                                                         590.00
                                                                                                                                                           $____________
                                                                                                                    x ___
                                                                                   Last 4 digits of account number ___ x ___
                                                                                                                          x ___
                                                                                                                             x
      Jefferson Capital LLC
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          03/20/2015
                                                                                                                        ____________
      16 McLeland Rd
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Saint Cloud                    MN          56303
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      
      X      Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                 Other. Specify________________________________
      
      X      No
            Yes




  Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    3 of ___
                                                                                                                                                           page __    7
Debtor 1           Carlos       Case R 18-21025-RBR             Doc 18
                                                        Estremadoyro
                   _______________________________________________________
                                                                                    Filed 10/17/18     Page 18-21025 21 of 47 RBR
                                                                                              Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name



 Part 2:          Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                     Total claim


4.7                                                                                Last 4 digits of account number ___ ___ ___ ___
      Memorial Healthcare System
      _____________________________________________________________                                                                                        $____________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      2900 Corporate Way
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Miramar                        FL      33025
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      
      X      Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                 Other. Specify________________________________
      
      X      No
            Yes



4.8
                                                                                                                    0 ___
                                                                                   Last 4 digits of account number ___ 7 ___
                                                                                                                          1 ___
                                                                                                                             9                              37,000.00
                                                                                                                                                           $____________
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          ____________
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      
      X      Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                 Credit Card Charges
                                                                                       Other. Specify________________________________
      
      X      No
            Yes


4.9                                                                                                                                                         6,600.00
                                                                                                                                                           $____________
                                                                                   Last 4 digits of account number ___ ___ ___ ___
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          04/19/2011
                                                                                                                        ____________
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      
      X      Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                 Credit Card Charges
                                                                                       Other. Specify________________________________
      
      X      No
            Yes




  Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    4 of ___
                                                                                                                                                           page __    7
Debtor 1            Carlos       Case R 18-21025-RBR             Doc 18
                                                         Estremadoyro
                    _______________________________________________________
                                                                                     Filed 10/17/18     Page 18-21025 22 of 47 RBR
                                                                                               Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name



 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                      Total claim


4.10                                                                                Last 4 digits of account number ___ ___ ___ ___
       _____________________________________________________________                                                                                        $____________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       _____________________________________________________________
       Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes



4.11
                                                                                    Last 4 digits of account number ___ ___ ___ ___                         $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       _____________________________________________________________
       Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
             No
             Yes


4.12                                                                                                                                                        $____________
                                                                                    Last 4 digits of account number ___ ___ ___ ___
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       _____________________________________________________________
       Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
             No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                    5 of ___
                                                                                                                                                            page __    7
Debtor 1       Carlos       Case R 18-21025-RBR             Doc 18
                                                    Estremadoyro
               _______________________________________________________
                                                                                   Filed 10/17/18     Page 18-21025 23 of 47 RBR
                                                                                             Case number (if known)_____________________________________
               First Name    Middle Name           Last Name



Part 3:       List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

     American Express Bank
     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     4315 S. 2700 West
     _____________________________________________________
                                                                          Line 4.1
                                                                               _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                             
                                                                                                       X Part 2: Creditors with Nonpriority Unsecured Claims
     _____________________________________________________
                                                                                                           x ___
                                                                          Last 4 digits of account number ___ x ___
                                                                                                                 x ___
                                                                                                                    x
     Salt Lake City, Utah 84148
     _____________________________________________________
     City                                  State               ZIP Code


     Focus Financial Svcs
     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     3800 S. Congress Ave
     _____________________________________________________
                                                                          Line 4.3
                                                                               _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street
                                                                                                       
                                                                                                       X Part 2: Creditors with Nonpriority Unsecured
     Suite 3
     _____________________________________________________                Claims

     Boynton Beach, Florida 33426
     _____________________________________________________                                                 9 ___
                                                                          Last 4 digits of account number ___ 0 ___
                                                                                                                 1 ___
                                                                                                                    1
     City                                  State               ZIP Code


     Andreu, Palma, Lavin & Solis PLLC
     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     1000 N.W. 57 Court
     _____________________________________________________
                                                                          Line 4.5
                                                                               _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                             
                                                                                                       X Part 2: Creditors with Nonpriority Unsecured
     Suite 400
     _____________________________________________________
                                                                          Claims

     Miami, Florida 33126
     _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
     City                                  State               ZIP Code


     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                          Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                              Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                          Claims

     _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
     City                                  State               ZIP Code


     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                          Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                              Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                          Claims

     _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
     City                                  State               ZIP Code


     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                          Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                              Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                          Claims

     _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
     City                                  State               ZIP Code


     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________                Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street
                                                                                                        Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________                Claims

     _____________________________________________________
     City                                  State               ZIP Code
                                                                          Last 4 digits of account number ___ ___ ___ ___


  Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                   6 of ___
                                                                                                                                                   page __    7
Debtor 1       Carlos       Case R 18-21025-RBR             Doc 18
                                                    Estremadoyro
               _______________________________________________________
                                                                               Filed 10/17/18     Page 18-21025 24 of 47 RBR
                                                                                         Case number (if known)_____________________________________
               First Name    Middle Name         Last Name



Part 4:    Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159.
    Add the amounts for each type of unsecured claim.




                                                                                       Total claim


                6a. Domestic support obligations                               6a.
Total claims                                                                           $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                 6b.     $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                6c.
                                                                                       $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                    6d.
                                                                                     + $_________________________

                6e. Total. Add lines 6a through 6d.                            6e.
                                                                                       $_________________________



                                                                                       Total claim

                6f. Student loans                                              6f.
Total claims                                                                             0.00
                                                                                        $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                     6g.       0.00
                                                                                        $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                              6h.      0.00
                                                                                       $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                    6i.   + $_________________________
                                                                                        59,189.00


                6j. Total. Add lines 6f through 6i.                            6j.
                                                                                         59,189.00
                                                                                        $_________________________




  Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                         7 of ___
                                                                                                                                           page __    7
                          Case 18-21025-RBR                Doc 18   Filed 10/17/18   Page 25 of 47


                                            Attachment
                        Debtor: Carlos R Estremadoyro Case No: 18-21025 RBR


Attachment 1
     c/o Midland Credit Management Inc. 2365 Northside Drive
     Suite 300
                                    Case 18-21025-RBR                Doc 18       Filed 10/17/18            Page 26 of 47


 Fill in this information to identify your case:

 Debtor               Carlos R Estremadoyro
                      __________________________________________________________________
                       First Name             Middle Name             Last Name

 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name             Last Name


                                        Southern District of Florida
 United States Bankruptcy Court for the:______________________________________

 Case number           18-21025  RBR
                       ___________________________________________
  (If known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      
      X    No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.

      Person or company with whom you have the contract or lease                               State what the contract or lease is for

2.1
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code



Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                                      1
                                                                                                                                              page 1 of ___
                                        Case 18-21025-RBR                      Doc 18       Filed 10/17/18    Page 27 of 47

 Fill in this information to identify your case:

 Debtor 1         Carlos R Estremadoyro
                  __________________________________________________________________
                      First Name                    Middle Name                 Last Name

 Debtor 2             ________________________________________________________________
 (Spouse, if filing) First Name                     Middle Name                 Last Name


                                        Southern District of Florida
 United States Bankruptcy Court for the:_______________________________________

 Case number          18-21025  RBR
                      ____________________________________________
  (If known)
                                                                                                                                             Check if this is an
                                                                                                                                               amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                               12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      
      X    No
          Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      
      X    No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                No
                Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                 ______________________________________________________________________
                 Name of your spouse, former spouse, or legal equivalent

                 ______________________________________________________________________
                 Number              Street

                 ______________________________________________________________________
                 City                                             State                     ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                            Column 2: The creditor to whom you owe the debt

                                                                                                          Check all schedules that apply:
3.1
         ________________________________________________________________________________                  Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number             Street                                                                         Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.2
         ________________________________________________________________________________                  Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number             Street                                                                         Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.3
         ________________________________________________________________________________                  Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number             Street                                                                         Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

Official Form 106H                                                           Schedule H: Your Codebtors                                                     1
                                                                                                                                                 page 1 of ___
                                  Case 18-21025-RBR                Doc 18       Filed 10/17/18          Page 28 of 47

 Fill in this information to identify your case:


 Debtor 1           Carlos  R Estremadoyro
                    ____________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


                                                Southern District of Florida
 United States Bankruptcy Court for the: ___________________________________________

 Case number         18-21025 RBR
                     ___________________________________________                                   Check if this is:
  (If known)
                                                                                                    An amended filing
                                                                                                    A supplement showing post-petition
                                                                                                       chapter 13 income as of the following date:
                                                                                                       ________________
Official Form 106I                                                                                     MM / DD / YYYY

Schedule I: Your Income                                                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:           Describe Employment


 1. Fill in your employment
     information.                                                         Debtor 1                                     Debtor 2 or non-filing spouse

     If you have more than one job,
     attach a separate page with
     information about additional         Employment status            
                                                                       X Employed                                   
                                                                                                                    X Employed
     employers.                                                         Not employed                               FillNot
                                                                                                                          outemployed
                                                                                                                             this information:
     Include part-time, seasonal, or
     self-employed work.
                                          Occupation                  UBER  DRIVER
                                                                      __________________________________          __________________________________
     Occupation may Include student
     or homemaker, if it applies.
                                          Employer’s name            SELF
                                                                     __________________________________           __________________________________


                                          Employer’s address        ________________________________________    ________________________________________
                                                                      Number Street                              Number    Street

                                                                    ________________________________________    ________________________________________

                                                                    ________________________________________    ________________________________________

                                                                    ________________________________________    ________________________________________
                                                                      City            State  ZIP Code             City                State ZIP Code

                                          How long employed there?         _______                                 _______

  Part 2:           Give Details About Monthly Income

     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
     spouse unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
     below. If you need more space, attach a separate sheet to this form.

                                                                                               For Debtor 1        For Debtor 2 or
                                                                                                                   non-filing spouse
  2. List monthly gross wages, salary, and commissions (before all payroll
       deductions). If not paid monthly, calculate what the monthly wage would be.      2.     750.00                   0.00
                                                                                              $___________             $____________

  3. Estimate and list monthly overtime pay.                                            3.   + $___________
                                                                                                0.00              + $____________
                                                                                                                     0.00

  4. Calculate gross income. Add line 2 + line 3.                                       4.     750.00
                                                                                              $__________               0.00
                                                                                                                       $____________




Official Form 106I                                             Schedule I: Your Income                                                           page 1
                                     Case 18-21025-RBR                               Doc 18              Filed 10/17/18               Page 29 of 47
Debtor 1          Carlos R Estremadoyro
                  _______________________________________________________                                                                         18-21025 RBR
                                                                                                                            Case number (if known)_____________________________________
                  First Name        Middle Name               Last Name



                                                                                                                           For Debtor 1         For Debtor 2 or
                                                                                                                                                non-filing spouse

     Copy line 4 here ............................................................................................  4.     $___________
                                                                                                                             750.00                $_____________
                                                                                                                                                    0.00

  5. List all payroll deductions:

      5a. Tax, Medicare, and Social Security deductions                                                            5a.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      5b. Mandatory contributions for retirement plans                                                             5b.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      5c. Voluntary contributions for retirement plans                                                             5c.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      5d. Required repayments of retirement fund loans                                                             5d.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      5e. Insurance                                                                                                5e.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      5f. Domestic support obligations                                                                             5f.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________

      5g. Union dues                                                                                               5g.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________

      5h. Other deductions. Specify: __________________________________                                            5h.    + $____________
                                                                                                                             0.00               + $_____________
                                                                                                                                                   0.00
  6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                    6.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________

  7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.      750.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________


  8. List all other income regularly received:

      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
                                                                                                                            0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
            monthly net income.                                                                                    8a.
      8b. Interest and dividends                                                                                   8b.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce                                           0.00                    0.00
                                                                                                                           $____________           $_____________
            settlement, and property settlement.                                                                   8c.
      8d. Unemployment compensation                                                                                8d.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      8e. Social Security                                                                                          8e.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      8f. Other government assistance that you regularly receive
          Include cash assistance and the value (if known) of any non-cash assistance
          that you receive, such as food stamps (benefits under the Supplemental                                           $____________            0.00
                                                                                                                                                   $_____________
          Nutrition Assistance Program) or housing subsidies.
          Specify: ___________________________________________________ 8f.

      8g. Pension or retirement income                                                                             8g.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________

      8h. Other monthly income. Specify: _______________________________                                           8h.    + $____________
                                                                                                                             0.00                + $_____________
                                                                                                                                                    0.00
  9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                     10.
                                                                                                                            750.00
                                                                                                                           $___________     +       0.00
                                                                                                                                                   $_____________        = $_____________
                                                                                                                                                                            750.00

 11. State all other regular contributions to the expenses that you list in Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
     friends or relatives.
     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
              CONTRIBUTIONS FROM FAMILY
     Specify: _______________________________________________________________________________                                                                      11. + $_____________
                                                                                                                                                                          0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
     Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                            12.      750.00
                                                                                                                                                                           $_____________
                                                                                                                                                                           Combined
                                                                                                                                                                           monthly income
  13. Do you expect an increase or decrease within the year after you file this form?
      
      X     No.
           Yes. Explain:


  Official Form 106I                                                               Schedule I: Your Income                                                                  page 2
                                   Case 18-21025-RBR                Doc 18         Filed 10/17/18            Page 30 of 47

 Fill in this information to identify your case:

 Debtor 1          Carlos R Estremadoyro
                   __________________________________________________________________
                                                                                                      Check if this is:
                     First Name              Middle Name              Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name              Last Name
                                                                                                       An amended filing
                                                                                                       A supplement showing post-petition chapter 13
                                               Southern District of Florida
 United States Bankruptcy Court for the: ______________________________________                            expenses as of the following date:
                                                                                                           ________________
 Case number         18-21025 RBR
                     ___________________________________________                                           MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:             Describe Your Household

1. Is this a joint case?

   
   X     No. Go to line 2.
        Yes. Does Debtor 2 live in a separate household?

                    No
                    Yes. Debtor 2 must file Official Forms 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                  
                                            X    No                                 Dependent’s relationship to                 Dependent’s   Does dependent live
    Do not list Debtor 1 and                    Yes. Fill out this information for Debtor 1 or Debtor 2                        age           with you?
    Debtor 2.                                    each dependent .........................
    Do not state the dependents’
                                                                                                                                                  No
                                                                                    _________________________                   ________
    names.                                                                                                                                        Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

3. Do your expenses include
    expenses of people other than
                                            
                                            X    No
    yourself and your dependents?               Yes

Part 2:          Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form B 106I.)                                           Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
     any rent for the ground or lot.                                                                                      4.
                                                                                                                                   3,100.00
                                                                                                                                  $_____________________

     If not included in line 4:
     4a.       Real estate taxes                                                                                          4a.      0.00
                                                                                                                                  $_____________________
     4b.       Property, homeowner’s, or renter’s insurance                                                               4b.      0.00
                                                                                                                                  $_____________________
     4c.       Home maintenance, repair, and upkeep expenses                                                              4c.      0.00
                                                                                                                                  $_____________________
     4d.       Homeowner’s association or condominium dues                                                                4d.      0.00
                                                                                                                                  $_____________________

 Official Form 106J                                           Schedule J: Your Expenses                                                             page 1
                               Case 18-21025-RBR                   Doc 18      Filed 10/17/18       Page 31 of 47

Debtor 1         Carlos R Estremadoyro
                 _______________________________________________________                  Case number (if known)18-21025  RBR
                                                                                                                _____________________________________
                 First Name    Middle Name        Last Name




                                                                                                                      Your expenses


 5. Additional mortgage payments for your residence, such as home equity loans                                5.
                                                                                                                      0.00
                                                                                                                     $_____________________


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                    6a.     300.00
                                                                                                                     $_____________________
      6b.   Water, sewer, garbage collection                                                                  6b.     0.00
                                                                                                                     $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.     250.00
                                                                                                                     $_____________________
      6d.   Other. Specify: _______________________________________________                                   6d.     0.00
                                                                                                                     $_____________________

 7. Food and housekeeping supplies                                                                            7.      400.00
                                                                                                                     $_____________________

 8. Childcare and children’s education costs                                                                  8.      0.00
                                                                                                                     $_____________________
 9. Clothing, laundry, and dry cleaning                                                                       9.      75.00
                                                                                                                     $_____________________
10.   Personal care products and services                                                                     10.     0.00
                                                                                                                     $_____________________
11.   Medical and dental expenses                                                                             11.     0.00
                                                                                                                     $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                      300.00
                                                                                                                     $_____________________
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.     0.00
                                                                                                                     $_____________________
14.   Charitable contributions and religious donations                                                        14.     0.00
                                                                                                                     $_____________________
                                                                                                                                                   16.
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.    0.00
                                                                                                                     $_____________________
      15b. Health insurance                                                                                   15b.    0.00
                                                                                                                     $_____________________
      15c. Vehicle insurance                                                                                  15c.    100.00
                                                                                                                     $_____________________
      15d. Other insurance. Specify:_______________________________________                                   15d.    0.00
                                                                                                                     $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                      0.00
                                                                                                                     $_____________________
      Specify: ________________________________________________________                                       16.

17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                         17a.    0.00
                                                                                                                     $_____________________

      17b. Car payments for Vehicle 2                                                                         17b.    0.00
                                                                                                                     $_____________________

      17c. Other. Specify:_______________________________________________                                     17c.   $_____________________

      17d. Other. Specify:_______________________________________________                                     17d.   $_____________________

18.   Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.    0.00
                                                                                                                     $_____________________

19.   Other payments you make to support others who do not live with you.
      Specify:_______________________________________________________                                          19.    0.00
                                                                                                                     $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                        20a.    0.00
                                                                                                                     $_____________________

      20b. Real estate taxes                                                                                  20b.    0.00
                                                                                                                     $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                       20c.    0.00
                                                                                                                     $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                           20d.    0.00
                                                                                                                     $_____________________

      20e. Homeowner’s association or condominium dues                                                        20e.    0.00
                                                                                                                     $_____________________



  Official Form 106J                                          Schedule J: Your Expenses                                                   page 2
                               Case 18-21025-RBR                  Doc 18        Filed 10/17/18          Page 32 of 47

Debtor 1         Carlos R Estremadoyro
                 _______________________________________________________                      Case number (if known)18-21025  RBR
                                                                                                                    _____________________________________
                 First Name    Middle Name       Last Name




21.    Other. Specify: _________________________________________________                                          21.   +$_____________________
                                                                                                                          0.00

22.    Calculate your monthly expenses.
       22a. Add lines 4 through 21.
                                                                                                                          4,525.00
                                                                                                                         $_____________________
                                                                                                                         $_____________________
       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2
       22c. Add line 22a and 22b. The result is your monthly expenses.                                            22.
                                                                                                                          4,525.00
                                                                                                                         $_____________________



23. Calculate your monthly net income.

      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                        23a.
                                                                                                                           750.00
                                                                                                                          $_____________________

      23b.   Copy your monthly expenses from line 22 above.                                                      23b.   – $_____________________
                                                                                                                           4,525.00
      23c.   Subtract your monthly expenses from your monthly income.
             The result is your monthly net income.                                                              23c.
                                                                                                                           -3,775.00
                                                                                                                          $_____________________




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      
      X   No.
         Yes.      Explain here:




  Official Form 106J                                         Schedule J: Your Expenses                                                        page 3
                                    Case 18-21025-RBR                             Doc 18             Filed 10/17/18                   Page 33 of 47


 Fill in this information to identify your case:

 Debtor 1          Carlos                  R                     Estremadoyro
                   __________________________________________________________________
                     First Name                      Middle Name                     Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                     Last Name


 United States Bankruptcy Court for the: Southern District of Florida
                                         ______________________________________

 Case number         18-21025  RBR
                     ___________________________________________                                                                                                           Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:        Summarize Your Assets


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 765,000.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 7,895.00
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 772,895.00
                                                                                                                                                                            ________________



Part 2:        Summarize Your Liabilities



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 910,300.00
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 0.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ..........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ......................................
                                                                                                                                                                      +   $ 97,979.00
                                                                                                                                                                            ________________


                                                                                                                                     Your total liabilities               $ 1,008,279.00
                                                                                                                                                                            ________________



Part 3:        Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 750.00
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22, Column A, of Schedule J..................................................................................                    $ 4,525.00
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
                                Case 18-21025-RBR                   Doc 18         Filed 10/17/18            Page 34 of 47
Debtor 1         Carlos       R                Estremadoyro
                 _______________________________________________________                                                 18-21025 RBR
                                                                                                   Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Part 4:        Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
    
    X Yes

7. What kind of debt do you have?

    
    X Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-10 for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                               $ 500.00
                                                                                                                                         _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                           Total claim


     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)
                                                                                                            0.00
                                                                                                           $_____________________

    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)
                                                                                                            0.00
                                                                                                           $_____________________

    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)
                                                                                                            0.00
                                                                                                           $_____________________


    9d. Student loans. (Copy line 6f.)
                                                                                                            0.00
                                                                                                           $_____________________

    9e. Obligations arising out of a separation agreement or divorce that you did not report as
        priority claims. (Copy line 6g.)                                                                    0.00
                                                                                                           $_____________________


    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                 0.00
                                                                                                        + $_____________________


    9g. Total. Add lines 9a through 9f.                                                                     0.00
                                                                                                           $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
                                            Case 18-21025-RBR            Doc 18            Filed 10/17/18                Page 35 of 47

Fill in this information to identify your case:

Debtor 1          Carlos R Estremadoyro
                  __________________________________________________________________
                    First Name                   Middle Name            Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                   Middle Name            Last Name


United States Bankruptcy Court for the: Southern District of Florida
                                        _______________________________________
Case number         18-21025 RBR
                    ___________________________________________
(If known)
                                                                                                                                               Check if this is an
                                                                                                                                                  amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor’s Schedules                                                                                                          12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       X No
       Yes.          Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                                   Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




    /s/Carlos R Estremadoyro
          ______________________________________________             
                                                                      _____________________________
         Signature of Debtor 1                                             Signature of Debtor 2


         Date 10/17/2018
              _________________                                            Date _________________
                MM /    DD       /   YYYY                                           MM / DD /   YYYY




  Official Form 106Dec                                         Declaration About an Individual Debtor’s Schedules                                         page 1
                                  Case 18-21025-RBR                  Doc 18         Filed 10/17/18         Page 36 of 47


 Fill in this information to identify your case:

 Debtor 1          Carlos                  R                      Estremadoyro
                   __________________________________________________________________
                     First Name             Middle Name                Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name                Last Name


 United States Bankruptcy Court for the: Southern  District of Florida
                                         ____________________________________________

 Case number         18-21025  RBR
                     ___________________________________________
  (If known)                                                                                                                           Check if this is an
                                                                                                                                         amended filing




Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                     04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


 Part 1:         Give Details About Your Marital Status and Where You Lived Before


 1. What is your current marital status?


      
      X Married
       Not married

 2. During the last 3 years, have you lived anywhere other than where you live now?

     
     X     No
          Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

               Debtor 1:                                        Dates Debtor 1      Debtor 2:                                              Dates Debtor 2
                                                                lived there                                                                lived there

                                                                                     Same as Debtor 1                                       Same as Debtor 1

               __________________________________________       From     ________       ___________________________________________           From ________
                Number    Street                                                        Number Street
                                                                To       ________                                                             To    ________
               __________________________________________                               ___________________________________________

               __________________________________________                               ___________________________________________
               City                     State ZIP Code                                  City                     State ZIP Code


                                                                                     Same as Debtor 1                                       Same as Debtor 1


               __________________________________________       From     ________       ___________________________________________           From ________
                Number    Street                                                        Number Street
                                                                To       ________                                                             To    ________
               __________________________________________                               ___________________________________________

               __________________________________________                               ___________________________________________
               City                     State ZIP Code                                  City                     State   ZIP Code


 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states
     and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
     
     X     No
          Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 1
                                 Case 18-21025-RBR                      Doc 18           Filed 10/17/18            Page 37 of 47

Debtor 1        Carlos R Estremadoyro
                _______________________________________________________                                  Case number (if known)18-21025  RBR
                                                                                                                               _____________________________________
                First Name      Middle Name          Last Name




 Part 2: Explain the Sources of Your Income

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

          No
    
     X     Yes. Fill in the details.

                                                           Debtor 1                                               Debtor 2

                                                           Sources of income             Gross income             Sources of income           Gross income
                                                           Check all that apply.         (before deductions and   Check all that apply.       (before deductions and
                                                                                         exclusions)                                          exclusions)


            From January 1 of current year until
                                                                Wages, commissions,                                 Wages, commissions,
                                                                 bonuses, tips            2,500.00
                                                                                         $________________            bonuses, tips           $________________
            the date you filed for bankruptcy:
                                                            
                                                            X    Operating a business                                Operating a business


            For last calendar year:                             Wages, commissions,                                 Wages, commissions,
                                                                 bonuses, tips            0.00
                                                                                         $________________            bonuses, tips           $________________
            (January 1 to December 31, 2017
                                       _________)               Operating a business                                Operating a business
                                              YYYY



            For the calendar year before that:
                                                            
                                                            X    Wages, commissions,                                 Wages, commissions,
                                                                 bonuses, tips                                        bonuses, tips
                                                                                          3,450.00
                                                                                         $________________                                    $________________
            (January 1 to December 31, 2016
                                       _________)               Operating a business                                Operating a business
                                              YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     
     X     No
          Yes. Fill in the details.
                                                            Debtor 1                                               Debtor 2

                                                            Sources of income            Gross income from         Sources of income          Gross income from
                                                            Describe below.              each source               Describe below.            each source
                                                                                         (before deductions and                               (before deductions and
                                                                                         exclusions)                                          exclusions)


                                                          __________________            $_________________ _____________________ $_________________
            From January 1 of current year until
            the date you filed for bankruptcy:            __________________            $_________________ _____________________ $_________________
                                                          __________________            $_________________ _____________________ $_________________


            For last calendar year:                       __________________            $_________________ _____________________ $_________________

            (January 1 to December 31, ______)            __________________            $_________________ _____________________ $_________________
                                              YYYY
                                                          __________________            $_________________ _____________________ $_________________



            For the calendar year before that:            __________________            $_________________ _____________________ $_________________
            (January 1 to December 31, ______)            __________________            $_________________ _____________________ $_________________
                                              YYYY
                                                          __________________            $_________________ _____________________ $_________________




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 2
                                Case 18-21025-RBR                     Doc 18        Filed 10/17/18           Page 38 of 47

Debtor 1       Carlos R Estremadoyro
               _______________________________________________________                                                   18-21025 RBR
                                                                                                   Case number (if known)_____________________________________
               First Name       Middle Name           Last Name




 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                   No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                         total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                         child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

 
  X        Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               
               X    No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                      Dates of      Total amount paid        Amount you still owe       Was this payment for…
                                                                      payment


                      ____________________________________
                      Creditor’s Name
                                                                     _________      $_________________ $__________________               Mortgage
                                                                                                                                         Car
                      ____________________________________           _________
                      Number    Street                                                                                                   Credit card
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code                                                                       Other ____________


                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________
                      Number    Street
                                                                     _________                                                           Credit card
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ____________



                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________
                      Number    Street
                                                                     _________                                                           Credit card
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ____________



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 3
                                   Case 18-21025-RBR                    Doc 18        Filed 10/17/18            Page 39 of 47

Debtor 1           Carlos R Estremadoyro
                   _______________________________________________________                                                  18-21025 RBR
                                                                                                      Case number (if known)_____________________________________
                   First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     
     X     No
          Yes. List all payments to an insider.
                                                                        Dates of      Total amount      Amount you still   Reason for this payment
                                                                        payment       paid              owe


            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



            ____________________________________________                             $____________ $____________
                                                                      _________
            Insider’s Name

            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     
     X     No
          Yes. List all payments that benefited an insider.
                                                                       Dates of        Total amount     Amount you still   Reason for this payment
                                                                       payment         paid             owe
                                                                                                                           Include creditor’s name

            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code




            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 4
                                      Case 18-21025-RBR                         Doc 18        Filed 10/17/18               Page 40 of 47

Debtor 1        Carlos R Estremadoyro
                _______________________________________________________                                        Case number (if known)18-21025  RBR
                                                                                                                                     _____________________________________
                First Name            Middle Name            Last Name




  Part 4:       Identify Legal Actions, Repossessions, and Foreclosures

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

          No
     
     X     Yes. Fill in the details.
                                                                    Nature of the case                   Court or agency                                 Status of the case

                                                                  foreclosure
                      Nationstar Mortgage LLC
            Case title_____________________________
                                                                                                        Miami-dade
                                                                                                        ________________________________________
                                                                                                        Court Name
                                                                                                                                                        
                                                                                                                                                        X   Pending

                                                                                                                                                           On appeal
            vs. Estremadoyro
            ____________________________________                                                        73 W. Flagler Street
                                                                                                        ________________________________________
                                                                                                        Number    Street                                   Concluded

            Case number 18-027079  (01)
                        ________________________                                                        Miami             FL      33130
                                                                                                        ________________________________________
                                                                                                        City                   State   ZIP Code

                                                                  foreclosure
                                                                                                        broward  circuit
                                                                                                        ________________________________________           Pending
                      Deutsche Bank Nat Trust
            Case title_____________________________                                                     Court Name
                                                                                                                                                           On appeal
            Co. vs. Estremadoyro
            ____________________________________                                                        201 S.E. 6th Street
                                                                                                        ________________________________________
                                                                                                        Number    Street                                
                                                                                                                                                        X   Concluded

            Case number 18-004596
                        ________________________                                                        Ft. Lauderdale     FL     33301
                                                                                                        ________________________________________
                                                                                                        City                   State   ZIP Code


 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     
     X     No. Go to line 11.
          Yes. Fill in the information below.

                                                                              Describe the property                                     Date          Value of the property



                 _________________________________________                                                                              __________     $______________
                 Creditor’s Name


                 _________________________________________
                 Number      Street                                           Explain what happened

                                                                                  Property was repossessed.
                 _________________________________________
                                                                                  Property was foreclosed.
                                                                                  Property was garnished.
                 _________________________________________
                 City                               State   ZIP Code              Property was attached, seized, or levied.

                                                                              Describe the property                                     Date           Value of the property



                                                                                                                                       __________      $______________
                 _________________________________________
                 Creditor’s Name


                 _________________________________________
                 Number      Street
                                                                              Explain what happened

                 _________________________________________                        Property was repossessed.
                                                                                  Property was foreclosed.
                 _________________________________________                        Property was garnished.
                 City                               State   ZIP Code
                                                                                  Property was attached, seized, or levied.



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5
                                  Case 18-21025-RBR                         Doc 18         Filed 10/17/18          Page 41 of 47

Debtor 1          Carlos R Estremadoyro
                  _______________________________________________________                                                      18-21025 RBR
                                                                                                         Case number (if known)_____________________________________
                  First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     
     X     No
          Yes. Fill in the details.

                                                                 Describe the action the creditor took                         Date action       Amount
                                                                                                                               was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                             ____________ $________________
           Number     Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–___ ___ ___ ___


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     
     X     No
          Yes

 Part 5:          List Certain Gifts and Contributions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     
     X     No
          Yes. Fill in the details for each gift.


            Gifts with a total value of more than $600           Describe the gifts                                            Dates you gave        Value
            per person                                                                                                         the gifts



           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________

           ______________________________________


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
           per person                                                                                                          the gifts


           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________


           ______________________________________


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 6
                                  Case 18-21025-RBR                           Doc 18           Filed 10/17/18              Page 42 of 47

Debtor 1           Carlos R Estremadoyro
                   _______________________________________________________                                     Case number (if known)18-21025  RBR
                                                                                                                                     _____________________________________
                   First Name     Middle Name              Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     
     X     No
          Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                   Describe what you contributed                                         Date you            Value
            that total more than $600                                                                                                   contributed



           _____________________________________                                                                                        _________           $_____________
           Charity’s Name


           _____________________________________                                                                                        _________           $_____________


           _____________________________________



           _____________________________________
           City           State    ZIP Code




 Part 6:           List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
     or gambling?

     
     X     No
          Yes. Fill in the details.

            Describe the property you lost and how                 Describe any insurance coverage for the loss                         Date of your loss   Value of property
            the loss occurred                                                                                                                               lost
                                                                   Include the amount that insurance has paid. List pending insurance
                                                                   claims on line 33 of Schedule A/B: Property.


                                                                                                                                        _________           $_____________




 Part 7:          List Certain Payments or Transfers

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
     consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

          No
     
     X     Yes. Fill in the details.

                                                                   Description and value of any property transferred                    Date payment or     Amount of payment
            Jared Kullman Esq                                                                                                           transfer was made
            ___________________________________
            Person Who Was Paid

            1910  S. State Road 7
            ___________________________________
            Number       Street                                                                                                         _________           $_____________

            ___________________________________
                                                                                                                                        _________           $_____________
            Miramar             FL 33023
            ___________________________________
            City                       State    ZIP Code


            ____________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 7
                                   Case 18-21025-RBR                          Doc 18          Filed 10/17/18            Page 43 of 47

Debtor 1           Carlos R Estremadoyro
                   _______________________________________________________                                    Case number (if known)18-21025  RBR
                                                                                                                                    _____________________________________
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred                Date payment or        Amount of
                                                                                                                                     transfer was made      payment

            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $_____________
            ____________________________________
            Number       Street

                                                                                                                                     _________             $_____________
            ____________________________________

            ____________________________________
            City                        State    ZIP Code



            ________________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     
     X     No
          Yes. Fill in the details.

                                                                    Description and value of any property transferred                Date payment or       Amount of payment
                                                                                                                                     transfer was made
            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $____________
            ____________________________________
            Number        Street

            ____________________________________                                                                                     _________             $____________

            ____________________________________
            City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     
     X     No
          Yes. Fill in the details.

                                                                    Description and value of property         Describe any property or payments received      Date transfer
                                                                    transferred                               or debts paid in exchange                       was made
            ___________________________________
            Person Who Received Transfer

            ___________________________________                                                                                                               _________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code


            Person’s relationship to you _____________

            ___________________________________
            Person Who Received Transfer
                                                                                                                                                              _________
            ___________________________________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code

            Person’s relationship to you _____________

Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 8
                                  Case 18-21025-RBR                              Doc 18         Filed 10/17/18          Page 44 of 47

Debtor 1           Carlos R Estremadoyro
                   _______________________________________________________                                                         18-21025 RBR
                                                                                                             Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     
     X     No
          Yes. Fill in the details.

                                                                   Description and value of the property transferred                                       Date transfer
                                                                                                                                                           was made


                                                                                                                                                           _________
           Name of trust __________________________


           ______________________________________




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     
     X     No
          Yes. Fill in the details.

                                                                   Last 4 digits of account number      Type of account or       Date account was       Last balance before
                                                                                                        instrument               closed, sold, moved,   closing or transfer
                                                                                                                                 or transferred
            ____________________________________
            Name of Financial Institution
                                                                       XXXX–___ ___ ___ ___             Checking               _________              $___________
            ____________________________________
            Number       Street
                                                                                                         Savings
            ____________________________________                                                         Money market
            ____________________________________
                                                                                                         Brokerage
            City                       State    ZIP Code                                                 Other__________

            ____________________________________                       XXXX–___ ___ ___ ___             Checking               _________              $___________
            Name of Financial Institution
                                                                                                         Savings
            ____________________________________
            Number       Street                                                                          Money market
            ____________________________________                                                         Brokerage
            ____________________________________                                                         Other__________
            City                       State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     
     X     No
          Yes. Fill in the details.
                                                                       Who else had access to it?                  Describe the contents                       Do you still
                                                                                                                                                               have it?

                                                                                                                                                               
                                                                                                                                                               X   No
            ____________________________________
            Name of Financial Institution
                                                                  _______________________________________
                                                                  Name
                                                                                                                                                                  Yes

            ____________________________________                  _______________________________________                                                      
            Number       Street                                   Number      Street
            ____________________________________
                                                                  _______________________________________
                                                                  City          State      ZIP Code
            ____________________________________
            City                       State    ZIP Code



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 9
                                    Case 18-21025-RBR                             Doc 18              Filed 10/17/18               Page 45 of 47

Debtor 1            Carlos R Estremadoyro
                    _______________________________________________________                                              Case number (if known)18-21025  RBR
                                                                                                                                               _____________________________________
                    First Name      Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    
    X      No
          Yes. Fill in the details.
                                                                     Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                          have it?


             ___________________________________                     _______________________________________                                                                No
             Name of Storage Facility                                Name                                                                                                   Yes
             ___________________________________                     _______________________________________                                                               
             Number       Street                                     Number    Street

             ___________________________________                     _______________________________________
                                                                     City State ZIP Code
             ___________________________________
             City                        State     ZIP Code



 Part 9:              Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
     
     X   No
          Yes. Fill in the details.
                                                                    Where is the property?                                    Describe the property                    Value


             ___________________________________
             Owner’s Name                                                                                                                                              $__________
                                                                   _________________________________________
             ___________________________________                   Number     Street
             Number        Street
                                                                   _________________________________________
             ___________________________________
                                                                   _________________________________________
             ___________________________________                   City                             State     ZIP Code
             City                        State     ZIP Code


 Part 10:             Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
     it or used to own, operate, or utilize it, including disposal sites.

  Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


     
     X     No
          Yes. Fill in the details.
                                                                     Governmental unit                            Environmental law, if you know it                   Date of notice



            ____________________________________                    _______________________________                                                                    _________
            Name of site                                            Governmental unit

            ____________________________________                    _______________________________
            Number       Street                                     Number    Street

                                                                    _______________________________
            ____________________________________                    City                   State   ZIP Code


            ____________________________________
            City                        State     ZIP Code



Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 10
                                   Case 18-21025-RBR                             Doc 18                 Filed 10/17/18              Page 46 of 47

Debtor 1           Carlos R Estremadoyro
                   _______________________________________________________                                               Case number (if known)18-21025  RBR
                                                                                                                                               _____________________________________
                   First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     
     X     No
          Yes. Fill in the details.
                                                                   Governmental unit                                Environmental law, if you know it                    Date of notice


            ____________________________________                  _______________________________
            Name of site                                          Governmental unit
                                                                                                                                                                          _________

            ____________________________________                  _______________________________
            Number        Street                                  Number     Street


            ____________________________________                  _______________________________
                                                                  City                  State    ZIP Code
            ____________________________________
            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     
     X     No
          Yes. Fill in the details.
                                                                                                                                                                          Status of the
                                                                    Court or agency                                      Nature of the case
                                                                                                                                                                          case

           Case title______________________________
                                                                    ________________________________
                                                                    Court Name
                                                                                                                                                                           Pending
           ______________________________________
                                                                                                                                                                           On appeal
                                                                    ________________________________
                                                                    Number     Street                                                                                     Concluded

           ______________________________________
           Case number                                              ________________________________
                                                                    City                        State    ZIP Code
                                                                                                                                                                          

 Part 11:            Give Details About Your Business or Connections to Any Business

 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
           
           X    A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
               A member of a limited liability company (LLC) or limited liability partnership (LLP)
               A partner in a partnership
               An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation

          No. None of the above applies. Go to Part 12.
     
     X     Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                                 Employer Identification number
            debtor was an uber driver
            ____________________________________                                                                                        Do not include Social Security number or ITIN.
            Business Name


            ____________________________________
                                                                                                                                        EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                    Name of accountant or bookkeeper                                    Dates business existed
            ____________________________________

                                                                                                                                        From     _______ To _______
            ____________________________________
            City                        State    ZIP Code

                                                                    Describe the nature of the business                                 Employer Identification number
            ____________________________________                                                                                        Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                        EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                    Name of accountant or bookkeeper                                    Dates business existed
            ____________________________________

                                                                                                                                        From     _______ To _______
            ____________________________________
            City                        State    ZIP Code


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                     page 11
                                   Case 18-21025-RBR                          Doc 18         Filed 10/17/18             Page 47 of 47

Debtor 1           Carlos R Estremadoyro
                   _______________________________________________________                                    Case number (if known)18-21025  RBR
                                                                                                                                    _____________________________________
                   First Name      Middle Name              Last Name




                                                                                                                            Employer Identification number
                                                                    Describe the nature of the business
                                                                                                                            Do not include Social Security number or ITIN.
            ____________________________________
            Business Name
                                                                                                                            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            ____________________________________
            Number        Street
                                                                    Name of accountant or bookkeeper                        Dates business existed

            ____________________________________

            ____________________________________                                                                            From     _______ To _______
            City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     
     X     No
          Yes. Fill in the details below.

                                                                    Date issued



            ____________________________________                    ____________
            Name                                                    MM / DD / YYYY


            ____________________________________
            Number        Street


            ____________________________________

            ____________________________________
            City                        State    ZIP Code




 Part 12:          Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




      /s/Carlos R Estremadoyro
            ______________________________________________                        _____________________________
            Signature of Debtor 1                                                    Signature of Debtor 2


                 10/17/2018
            Date ________________                                                    Date _________________

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

      
      X      No
            Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      
      X     No
           Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                               Declaration, and Signature (Official Form 119).




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 12
